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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: BLONDELL P. TUTWILER                                           NO. 18-12412-NPO


                OBJECTION TO CLAIMED EXEMPTIONS AND VALUATION
         Annie Border-Blackwell, as Executrix of the Estate of Julia Tutwiler Borders,
   Deceased (“Movant”) objects to the Debtor’s claimed exemptions and the valuation
   thereof and for cause would show as follows:
         1.     Movant objects to the claimed exemptions on the real property located at
   105 N. Lowery Avenue and the alleged value of $98,000.00. On information and belief,
   the Debtor has offered the home for sale for in excess of $200,000.00. Movant is in the
   process of obtaining a current valuation.
         2.     Movant objects to the claimed exemptions on the 1991 Mercedes and the
   alleged value of $1,849.00. The average NADA retail value is in excess of $5,000.00.
         3.     Movant objects to the claimed exemptions on the 2005 GMC Yukon and
   the alleged value of $150.00. The average NADA retail value is in excess of $5,000.00.
         4.     Movant objects to the claimed exemptions, if any, on the real property
   located at 108 South Osley Avenue and the alleged value of $18,040.00. Movant is in
   the process of obtaining a current valuation.
         WHEREFORE, PREMISES CONSIDERED, Annie Border-Blackwell, as Executrix
   of the Estate of Julia Tutwiler Borders, Deceased requests that this Court deny the
   Debtor’s claimed exemptions and the valuation thereof and grant such other relief as is
   necessary under the circumstances.
                DATED: October 9, 2018


                                               ANNIE BORDER-BLACKWELL, AS
                                               EXECUTRIX OF THE ESTATE OF JULIA
                                               TUTWILER BORDERS, DECEASED

                                               By:   /s/ Jeff Rawlings
                                                     Her Attorney
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                                  CERTIFICATE OF SERVICE
          I served a copy of the foregoing on October 9, 2018 via the ECF notification
   service to Gwendolyn Baptist-Rucker, thebaptistlawfirm18@gmail.com, Jeffrey A.
   Levingston, jleving@bellsouth.net and the Office of the U. S. Trustee,
   USTPRegion05.AB.ECF@usdoj.gov.


                                            /s/ Jeff Rawlings
                                            Jeff D. Rawlings
   Jeff D. Rawlings
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   jeff@rawlingsmacinnis.net
   MSB # 4642




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